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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations
                                                                                                               FILED

                                      UNITED STATES DISTRICT Co                                         CLERK, U.S. DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                                      BY                                        DEPUTY
               UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November 1, 1987)
                                 V.
                   KEYON RENTA GILL (7)
                                                                        Case Number:        14CR3537-BAS

                                                                     DAVID ZUGMAN
                                                                     Defendant's Attorney
REGISTRAnON NO.                  44283298
D'
THE DEFENDANT:
t:El   admitted guilt to violation ofallegation(s) No.     ONE (1)
                                                          ----~~----------------------------------------
D was found guilty in violation ofallegation(s) No.                                                   after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                  Nature of Violation
                                   nv3, Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime
                                   Control Act)




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 5 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     January 30. 2017
                                                                     Date of Imposition of Senten e




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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




       The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
           at                            A.M.             on _____________________________________

       D
                 ------------------
             as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D     on or before
       D     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:

       Defendant delivered on
                                -------------------------- to
at                                        , with a certified copy of this judgment.
     ------------------------


                                                                 UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIFTY (58) MONTHS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690l, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
    such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
    Payments set forth in this judgment.
       The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
    any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall noti1)t the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any contraband
         observed in plain view ofthe probation officer;
     11) the defendant shall noti1)t the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall noti1)t third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.




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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   2. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.c. §§ 3563 (b)(23); 3583 (d)(3).

   3. Not use or possess devices which can communicate data via modem or dedicated connection and may
      not have access to the Internet without prior approval from the court or the probation officer. The
      offender shall consent to the installation of systems that will enable the probation officer to monitor
      computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
      of installation of the computer software.

   4. Shall not knowingly associate with any known member, prospect, or associate of the Tycoons, or any
      other gang, or club with a history of criminal activity, unless given permission by the probation officer.

   5. Shall not knowingly loiter, or be present in locations known to be areas where gang members
      congregate, unless permission by the probation officer.

   6. Shall not knowingly wear or possess any paraphernalia, insignia, clothing, photographs, or any other
      materials associated with a gang, unless given permission by the probation officer.

   7. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.

   8. Shall not knowingly associate with prostitutes or pimps andlor loiter in areas frequented by those
      engaged in prostitution.

   9. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   10. You shall submit to search of your person, property, residence, abode or vehicle, conducted by the
       probation officer, or any law enforcement officer, at any time of the day or night, with or without a
       warrant, and with or without reasonable or probable cause. Failure to submit to a search may be grounds
       for revocation; you shall warn any other residents that the premises may be subject to searches pursuant
       to this condition (4th Amendment Waiver).


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   11. Pennitted to reside outside of the State of California.




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